Case 2:21-cv-00225-JRG-RSP Document 182 Filed 06/17/22 Page 1 of 2 PageID #: 4995




                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        MARSHALL DIVISION

   BRIGHT DATA LTD.,                                 §
                                                     §
                  Plaintiff,                         §
                                                     §
   v.                                                §        Case No. 2:21-cv-00225-JRG-RSP
                                                     §
   NETNUT LTD.,                                      §
                                                     §
                  Defendant.                         §

                                                 ORDER

            Before the Court is the Motion For Corrective Actions And Sanctions For Violation Of

  Protective Order And Abuse Of Settlement Process filed by Plaintiff Bright Data Ltd. Dkt. No.

  156. In its motion, Bright Data seeks relief for alleged violations of the Court’s Protective Order

  (Dkt. No. 58) committed by Defendant NetNut Ltd. and NetNut’s counsel.

            On June 16, 2022, the Court held a hearing on Bright Data’s motion. As a result of the

  arguments presented at the hearing, the Court has identified the following issues that the Court

  directs the parties to address through supplemental briefing:

            (1) Whether the Court’s Protective Order is enforceable after the Court entered its Order
                dismissing the case;
            (2) Whether the Confidential Settlement Agreement is subject to the Protective Order;
            (3) Whether the securities laws of the United States, or other applicable laws, required
                NetNut to disclose the particular details of the Confidential Settlement Agreement that
                Bright Data contends violated the Protective Order: and
            (4) What relief is appropriate if a violation is found.

  Thus, the Court ORDERS the following:

        •   No later than July 8, 2022, the parties are to serve on the opposite party a Notice that

            identifies evidence the party plans to offer in support of its supplemental brief as required

            by Fed. R. Civ. P. 26(a)(1)(A)(i)-(iv). Additionally, if a party plans on calling witnesses,

            the Notice is to contain the identity and a summary of the expected testimony of the
Case 2:21-cv-00225-JRG-RSP Document 182 Filed 06/17/22 Page 2 of 2 PageID #: 4996


  .
          witness. Finally, if a party plans on using an expert to offer testimony, via a declaration or

          at the hearing, to support its supplemental brief, the parties are to treat the expert witness

          as an expert who is not required to provide a written report and the Notice is to provide

          the information required by Fed. R. Civ. P. 26(a)(2)(C).

      •   No later than July 14, 2022, the parties are to file their supplemental briefs addressing the

          issues identified above. The Supplemental Brief is not to exceed 15 pages.

          Finally, the motion is set for an evidentiary hearing on July 28, 2022 at 9:00 a.m. before

  the undersigned.
          SIGNED this 3rd day of January, 2012.
          SIGNED this 17th day of June, 2022.




                                                        ____________________________________
                                                        ROY S. PAYNE
                                                        UNITED STATES MAGISTRATE JUDGE
